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                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT PENNSYLVANIA

 VALUE DRUG COMPANY, individually, on
 behalf of itself and all others similarly situated,

           Plaintiff,
                                                            Civil Action No.
 v.

 TAKEDA PHARMACEUTICALS U.S.A., INC.,
 ENDO PHARMACEUTICALS, INC., PAR                            Jury Trial Demanded
 PHARMACEUTICAL INC., WATSON
 LABORATORIES, INC., TEVA
 PHARMACEUTICAL INDUSTRIES LTD., TEVA
 PHARMACEUTICALS USA, INC., and
 AMNEAL PHARMACEUTICALS LLC,

           Defendants.

                                  CLASS ACTION COMPLAINT

          Plaintiff Value Drug Company, on behalf of itself and all others similarly situated, brings

this Class Action Complaint against Takeda Pharmaceuticals U.S.A., Inc. (“Takeda”), Endo

Pharmaceuticals, Inc. (“Endo”), Watson Laboratories, Inc. (now known as Teva Pharmaceutical

Industries, Ltd.) (“Watson”), Amneal Pharmaceuticals LLC (“Amneal”), Teva Pharmaceutical

Industries Ltd. (“Teva Ltd.”), Teva Pharmaceuticals USA, Inc. (“Teva USA”), and Par

Pharmaceutical, Inc. (“Par”) (all defendants collectively, “Defendants”) and alleges as follows

based on: (a) personal knowledge, (b) the investigation of its counsel, and (c) information and

belief.

I.        NATURE OF THE CASE

          1.      This case challenges a horizontal conspiracy among all of the Defendants, all of

whom were competitors in the market for Colcrys and its AB-rated generics. Parts of the

conspiracy masqueraded as a joint venture, but the restraints were, in fact, naked.
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       2.      As of late 2015, Par, Watson and Amneal were set to begin competing against

Takeda in the market for 0.6 mg colchicine tablets, over which Takeda enjoyed a monopoly and

marketed under the brand name Colcrys. But rather than compete against one another, all four

agreed it would be more profitable to conspire not to do so, and to conceal their conspiracy in

part in the form of a distribution joint venture between Takeda and Par. Under the joint venture,

Par would sell Takeda’s product instead of its own, to maintain Takeda’s monopoly, restrict

output of Par’s competing product, allocate 100% of the market to Takeda’s product for several

years, and share with Takeda in the corresponding monopoly prices, all at the expense of

purchasers and patients.

       3.      Takeda, Par, Watson, and Amneal agreed to the following:

               (a)    rather than compete Takeda’s Colcrys profits down by launching its own

       generic version of Colcrys alongside Takeda’s branded Colcrys and Takeda’s “authorized

       generic” version sold since early 2015 by Takeda’s distributor Prasco LLC (“Prasco”),

       Par would restrict its output of generic Colcrys and instead become a joint venture partner

       of Takeda and distribute Takeda’s “authorized generic” Colcrys in place of Prasco;

               (b)    to lengthen the period of time that Colcrys and “authorized generic”

       Colcrys could be sold free from generic competition, Par would not replace Prasco as

       Takeda’s distributor until 2½ years following the inception of the conspiracy;

               (c)    Par would pay a large royalty to Takeda on “authorized generic” sales, and

       would keep the prices at which Par was selling Takeda’s “authorized generic” at (or at

       most a small percentage below) the price at which Takeda was selling branded Colcrys,

       to keep Colcrys profits from being competed down;




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               (d)     rather than create competition among Takeda’s branded Colcrys, Takeda’s

       “authorized generic” Colcrys sold by Prasco, Par’s generic Colcrys, and then, 180 days

       after Par started selling, Watson’s and Amneal’s generic versions of Colcrys, and thereby

       suffer a corresponding reduction of supracompetitively high Colcrys prices and profits

       that the four co-conspirators would otherwise share, Watson and Amneal would restrict

       their output of generic Colcrys for several years, and then would each enjoy a defined

       period of time to sell their respective generic Colcrys products free from competition

       from all other would-be generic Colcrys makers; and

               (e)     rather than allow generic companies other than the co-conspirators to enter

       the market with their respective generic versions of Colcrys 180 days after Par started

       selling, and thereby suffer a corresponding reduction of the supracompetitively high

       Colcrys prices and profits they were sharing, Takeda would enter into licenses with those

       other generic companies that would delay their entry beyond Watson’s and Amneal’s

       agreed periods of competition-free sales, thereby giving the co-conspirators long periods

       of supracompetitive Colcrys profits.

       4.      This single conspiracy to restrict output and restrain competition worked as

planned from November 24, 2015 until November 25, 2019. First Takeda alone, and then

Takeda and Par together, earned and shared supracompetitive profits from the sale of Takeda’s

branded and “authorized generic” Colcrys. Watson and Amneal withheld their output from the

market in anticipation of their defined periods of exclusive generic sales, as agreed. Competition

was severely harmed.

       5.      The conspiracy’s goals were not fully realized, however. On November 25, 2019,

a non-conspiring generic drug company, Mylan Pharmaceuticals Inc. (“Mylan”), disrupted the


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conspiracy’s aims by launching a generic version of Colcrys, which in turn allowed all other

generics to launch, interfering with the planned periods of restricted output to which Takeda, Par,

Watson and Amneal had agreed. Nevertheless, each of the co-conspirators, even those that did

not ultimately benefit as planned, is jointly and severally liable for the full harm that was in fact

caused by the conspiracy.

          6.      Mylan’s launch triggered unfettered competition, including from several non-

conspiring generic companies, causing the price of Colcrys and generic Colcrys to quickly fall,

and allowing consumers to finally benefit from prices that were about 90% lower than the price

at which Takeda’s branded and “authorized generic” Colcrys previously were being sold.

Absent the conspiracy, this price collapse would have occurred years earlier. Instead, consumers

and direct purchasers paid prices for Colcrys that were approximately 1,200% higher than they

should have been over that time.

II.       PARTIES

          7.      Plaintiff Value Drug Company is a corporation organized under the laws of the

State of Pennsylvania and is located at 195 Theater Drive, Duncansville, Pennsylvania

16635. Value Drug Company, during the Class Period defined below, purchased brand Colcrys

directly from Takeda, and generic Colcrys directly from Prasco and Par, at supracompetitive

prices and therefore suffered antitrust injury as a result of the anticompetitive conduct alleged

herein.

          8.      Defendant Takeda Pharmaceuticals U.S.A., Inc. is a corporation organized and

existing under the laws of the State of Delaware, with its principal place of business located at

One Takeda Parkway, Deerfield, Illinois 60015.




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       9.      Defendant Endo Pharmaceuticals, Inc. is a Delaware corporation, with its

principal place of business at 1400 Atwater Drive, Malvern, PA 19355. Endo is successor-in-

interest to Par. On September 28, 2015, Endo completed an acquisition of defendant Par and

assumed all of Par’s liabilities. Moreover, Endo ratified Par’s conduct challenged herein, and

reaped illicit benefits from the conspiracy.

       10.     Defendant Par Pharmaceutical, Inc. is a Delaware corporation with its principal

place of business and corporate headquarters at One Ram Ridge Road, Chestnut Ridge, New

York 10977.

       11.     Defendant Watson Laboratories, Inc. is a Nevada corporation having places of

business at 311 Bonnie Circle, Corona, CA 92878 and Morris Corporate Center III, 400

Interpace Parkway, Parsippany, NJ 07054.

       12.     Defendant Teva Pharmaceutical Industries Ltd. is an Israeli corporation with its

principal place of business at 5 Basel St., Petach Tikva, Israel 4951033. Teva Ltd. is successor-

in-interest to Watson. On July 26, 2015, Teva Ltd. purchased Watson and, as part of that

purchase, assumed all of Watson’s liabilities. Moreover, Teva Ltd. ratified Watson’s conduct

challenged herein.

       13.     Defendant Teva Pharmaceuticals USA, Inc. is a Delaware corporation with its

principal place of business at 400 Interpace Parkway, Parsippany, NJ 07054. Teva

Pharmaceuticals USA, Inc. is successor-in-interest to Watson. On July 26, 2015, Teva

Pharmaceuticals USA, Inc. purchased Watson and, as part of that purchase, assumed all of

Watson’s liabilities. Moreover, Teva Pharmaceuticals USA, Inc. ratified Watson’s conduct

challenged herein.




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        14.      Defendant Amneal Pharmaceuticals, LLC, is a Delaware corporation with its

principal place of business at 400 Crossing Boulevard, Third Floor, Bridgewater, NJ, 08807-

2863.

III.    JURISDICTION AND VENUE

        15.      This action arises under sections 1 and 2 of the Sherman Act (15 U.S.C. §§ 1, 2)

violations of which are made privately actionable through section 4 of the Clayton Act (15

U.S.C. §15(a)), and seeks threefold damages, costs of suit, and reasonable attorneys’ fees for the

overcharges paid by Plaintiff and members of the proposed class resulting from Defendants’

conspiracy and monopolization of the market for Colcrys and its AB-rated generic equivalents.

The Court has subject matter jurisdiction under 28 U.S.C. §§ 1331, 1337(a), and 15 U.S.C. § 15.

        16.      Defendants transact business within this district, and they carry out interstate trade

and commerce in substantial part in this district and/or have an agent and/or can be found in this

district. Venue is therefore appropriate within this district under section 12 of the Clayton Act

(15 U.S.C. § 22) and 28 U.S.C. §1391(b) and (c).

        17.      The Court has personal jurisdiction over each defendant. Each defendant has

transacted business, maintained substantial contacts, and/or committed overt acts in furtherance

of the illegal scheme and conspiracy throughout the United States, including in this district. The

scheme and conspiracy have been directed at, and have had the intended effect of, causing injury

to persons residing in, located in, or doing business throughout the United States, including in

this district.

IV.     CLASS ACTION ALLEGATIONS

        18.      Plaintiff brings this action on behalf of itself and, under Rule 23 of the Federal

Rules of Civil Procedure, as representative of a class defined as follows:


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               All persons or entities in the United States and its territories and
               possessions, including the Commonwealth of Puerto Rico, who
               directly purchased branded or generic Colcrys tablets from Takeda,
               Prasco, or Par at any time from July 29, 2016 until the effects of
               Defendants’ conduct cease (the “Class”).

 Excluded from the Class are Defendants, their officers, directors, management, employees,

 subsidiaries, and affiliates, and all federal governmental entities.

       19.     Members of the Class are so numerous that joinder is impracticable. While the

exact number of Class members is unknown to Plaintiff, the Class likely numbers greater than

40, and members of the Class are widely dispersed throughout the United States and its

territories and possessions, including the Commonwealth of Puerto Rico. The Class is readily

identifiable from information and records in the possession of Defendants and Prasco.

       20.     Plaintiff’s claims are typical of the claims of the members of the Class. Plaintiff

and all members of the Class were damaged by the same wrongful conduct of Defendants, i.e.,

they paid artificially inflated prices for brand and generic Colcrys and were deprived of the

benefits of competition from less-expensive generic versions of Colcrys as a result of

Defendants’ wrongful conduct.

       21.     Plaintiff will fairly and adequately protect and represent the interests of the Class.

Plaintiff’s interests are coincident with, and not antagonistic to, those of the Class.

       22.     Plaintiff is represented by counsel who are experienced and competent in the

prosecution of class action antitrust litigation, and have particular experience with class action

antitrust litigation in the pharmaceutical industry.

       23.     Questions of law and fact common to the members of the Class predominate over

questions, if any, that may affect only individual Class members because Defendants have acted




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on grounds generally applicable to the entire Class. Such generally applicable conduct is inherent

in Defendants’ wrongful conduct.

       24.      Questions of law and fact common to the Class include:

             a. Whether the conduct alleged herein constitutes a violation of the antitrust laws;

             b. Whether Defendants conspired to restrict output of generic Colcrys;

             c. Whether Defendants conspired to maintain Takeda’s monopoly power over
                Colcrys;

             d. Whether Takeda and Par’s distribution joint venture was a disguise for a naked
                restraint of competition;

             e. Whether Defendants’ challenged conduct restrained competition to Colcrys;

             f. Whether Defendants’ conduct should be evaluated under the per se illegality
                standard, the quick look standard, or under the antitrust rule of reason;

             g. Whether Takeda possessed monopoly power with respect to Colcrys;

             h. Whether there exist any legitimate procompetitive justifications for some or all of
                the Defendants’ conduct;

             i. To the extent such justifications exist, whether there were less restrictive means
                of achieving them;

             j. Whether the Defendants’ scheme, in whole or in part, has substantially affected
                interstate commerce;

             k. Whether the Defendants’ unlawful conduct was a substantial contributing factor
                in causing a reduction in competition to Colcrys;

             l. whether, and to what extent, Defendants’ conduct caused antitrust injury
                (overcharges) to Plaintiff and the Direct Purchaser Class; and

             m. The quantum of overcharges paid by the class in the aggregate.

       25.      A class action is superior to any other available method for the fair and efficient

adjudication of this controversy in that, among other things, such treatment will permit a large

number of similarly situated persons and entities to prosecute their common claims in a single



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forum simultaneously, efficiently, and without the unnecessary duplication of effort and expense

that numerous individual actions would engender.

       26.     The prosecution of separate actions by individual members of the Class would

create a risk of inconsistent or varying adjudications with respect to individual members of the

Class. These adjudications would establish incompatible standards of conduct for the Defendants

which would, as a practical matter, be dispositive of the claims of the other members not parties

to the adjudications or substantially impair or impede their ability to protect their interests.

V.     FACTS

       A.      COLCRYS

       27.     Colcrys is approved by the Food and Drug Administration (“FDA”) for the

treatment and prophylaxis (prevention) of gout flares and for the treatment of familial

Mediterranean fever (“FMF”) in adults and children 4 years or older.

       28.     Colcrys’s active ingredient, colchicine, had been used in the United States for

decades before the FDA approval of Colcrys. Before 2006, colchicine was widely available

from numerous sources. As a result, before 2006, a colchicine pill cost just $0.09. However, in

2006, the FDA encouraged the pharmaceutical industry to submit New Drug Applications

(“NDAs”) for previously unapproved drugs to facilitate FDA evaluation of older drug products

by contemporary standards.

       29.      FDA approved Colcrys on July 29, 2009 as the first pharmaceutical product

containing colchicine as the sole active ingredient. Since its approval Takeda has charged

monopoly prices, realizing annual sales of Colcrys as high as $546 million. By May 2014,

Takeda was charging over $5.25 per a tablet of Colcrys, an increase of 5,733.33% over the price

in 2006.


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       B.      FDA APPROVAL OF COLCRYS

       30.     Colchicine is a very old drug that has been used in the treatment of gout for a very

long time. It is a naturally occurring substance found in the autumn crocus plant (Colchicum

autumnale) and was used by the Ancient Greeks approximately two thousand years ago to treat

and prevent symptoms of gout, a type of severe arthritis often characterized by painful “flares”

(severe and sudden attacks of pain, redness, inflammation, and tenderness in joints) resulting

from the build-up of uric acid. More recently, in 1972, Dr. Stephen Goldfinger reported the

successful use of colchicine in treating FMF, a rare, autosomal recessive, auto-inflammatory

disease characterized by recurrent and/or chronic inflammation that is concentrated in

populations of Mediterranean origin, including Sephardic Jews, Arabs, Turks, and Armenians.

Thus, no later than 1972, the uses of colchicine in the treatment and prevention of gout flares and

the treatment of FMF were well known and unpatentable.

       31.     By its own terms, the Food, Drug & Cosmetic Act applies only to “any new

drug,” and therefore not to old drugs like colchicine. Accordingly, companies marketing

colchicine prior to 2006 were not operating pursuant to NDAs. In 2006, however, FDA

announced its Unapproved Drugs Initiative under which it planned “to remove unapproved drugs

from the market” and bring “all such drugs into the approval process.”

       32.     In 2008, Takeda’s predecessor Mutual Pharmaceutical Co., Inc., a subsidiary of

United Research Laboratories, Inc. (all referred to collectively as “Takeda” herein) filed three

NDAs (i.e., NDA Nos. 22-351, 22-352, and 22-353) for colchicine for the treatment of FMF and

the treatment and prophylaxis (i.e., prevention) of gout flares. In 2009, FDA approved these

NDAs and granted Takeda’s colchicine product a three-year exclusivity for the treatment of




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acute gout flares and a seven-year exclusivity for the treatment of FMF. Takeda’s final

exclusivity expired on July 29, 2016.

       C.        AB-RATED GENERIC VERSIONS OF BRAND-NAME DRUGS ARE
                 SIGNIFICANTLY LESS EXPENSIVE THAN, AND TAKE SIGNIFICANT
                 SALES DIRECTLY FROM, THE CORRESPONDING BRAND-NAME
                 VERSIONS

       33.       Competition from lower-priced AB-rated generic drugs saves American

consumers billions of dollars a year. These consumer savings mean lower profits for brand drug

companies. When robust AB-rated generic entry occurs, the brand company suffers a rapid and

steep decline in sales and profits on its corresponding brand drug.

       34.       The threat of AB-rated generic competition thus creates a powerful incentive for

brand companies to protect their revenue streams.

       35.       When there are many generic competitors, AB-rated generic versions of brand-

name drugs are priced significantly below their brand-name counterparts. Because of those lower

prices, and aided by institutional features of the pharmaceutical market, AB-rated generic drugs

are rapidly and substantially substituted for their more expensive brand-name counterparts.

       36.       When multiple generic manufacturers enter the market, prices for generic versions

of a drug predictably decrease significantly because of competition among the generic

manufacturers.

       37.       An AB rating means that the generic drug is pharmaceutically equivalent and

bioequivalent to the corresponding reference-listed brand drug. An AB-rating is particularly

significant to a generic manufacturer because, under the Hatch-Waxman Act of 1984, as

amended, and all state Drug Product Selection laws, pharmacists may (and in many states, must)

substitute an AB-rated generic version of a drug for the brand-name drug automatically at the

pharmacy counter, without seeking or obtaining permission from the prescribing physician.

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Generic drugs that are not AB-rated, either because they are not pharmaceutically equivalent or

not bioequivalent, cannot be automatically substituted by the pharmacist.

       38.      Robust AB-rated generic competition, facilitated by automatic pharmacy

substitution, enables direct purchasers, patients, and insurers to (a) purchase generic versions of

brand-name drugs at substantially lower prices, and/or (b) purchase the brand-name drug at

reduced prices. However, until generic manufacturers enter the market with their AB-rated

generic products, there are no pharmaceutically equivalent and bioequivalent generic drugs

which compete with the brand-name drug, and therefore the brand-name manufacturer can

continue to charge supracompetitive prices profitably without losing all or a substantial portion

of its brand-name sales.

       39.      The barriers to entry by a generic drug manufacturer are high. Such companies

must first formulate a generic version of the brand-name drug; conduct bioequivalence and other

studies needed to support an Abbreviated New Drug Application to FDA (“ANDA”); file the

ANDA and work with FDA on any issues that arise regarding approval; and invest in

manufacturing facilities for the commercialization of the product.

       40.      As an incentive to spur generic companies to seek approval of generic alternatives

to branded drugs, the first generic manufacturer to file an ANDA containing a certification that

the generic version does not infringe any valid patent listed in FDA’s “Orange Book” against the

reference-listed brand drug (a “Paragraph IV certification”) gets 180 days of protection from

competition from other generic versions of the drug (except the brand’s “authorized generic”

version).

       41.      The high profit margins on brand name drugs, and the profit lowering effects of

AB-rated generic entry create powerful financial incentives for brand name manufacturers to list


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patents in the Orange Book even if such patents are not eligible for listing, and sue any generic

competitor that files an ANDA with a Paragraph IV certification even if the competitor’s product

does not actually infringe the listed patents or the patent is invalid and unenforceable. Brand

drug manufacturers do this simply to delay final FDA approval of an ANDA for up to 30 months

(the “30-month stay”).

       D.      DEFENDANTS’ OUTPUT-RESTRICTION CONSPIRACY

       42.     In December 2011, Par filed ANDA No. 203976, the first ANDA to seek FDA

approval for a generic version of Colcrys. Par certified that all pertinent patents that Takeda

listed in the Orange Book under the Colcrys NDA were either invalid or not infringed. As the

first generic filer making such a Paragraph IV certification, Par was entitled to a 180-day period

of regulatory exclusivity during which the FDA would not approve other generic manufacturers

to sell a generic version of Colcrys.

       43.     Eight other generic companies, including Amneal and Watson, filed ANDAs

seeking approval to sell generic versions of Colcrys and made similar Paragraph IV certifications

that any listed patents were invalid or not infringed.

       44.     Takeda sued all of the ANDA filers, alleging infringement of the patents

purportedly covering Colcrys. Takeda sued Par first, in August of 2013 (the “Par Litigation”).

       45.     Takeda’s patents were fatally weak, and had already been found to have not been

infringed by Hikma International Pharmaceuticals LLC in litigation regarding another product

called Mitigare.

       46.     Worse for Takeda, the ANDA filers were close to obtaining FDA approval to

market generic Colcrys. Par obtained tentative FDA approval to launch its ANDA product in

February of 2015. This meant that FDA found Par was ready and able to market its generic


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Colcrys product once the 30-month stay (which began when Takeda filed the Par Litigation) had

elapsed, or Par prevailed in the Par Litigation, whichever came first.

       47.     Watson obtained tentative FDA approval to launch its ANDA product in October

of 2015. This meant that FDA found Watson was ready and able to market its generic Colcrys

product once Par, as the first ANDA filer, had been on the market for 180 days.

       48.     Amneal would obtain final FDA approval to launch its ANDA product several

month later, in September of 2016, and the FDA would approve multiple other ANDA filers

throughout the period 2019 through 2021.

       49.     Knowing how fatally weak its patents purportedly covering Colcrys were, Takeda

had anticipated imminent generic competition, and in advance of trial in the Par Litigation, had

entered into an agreement with Prasco to distribute, starting in January of 2015, an authorized

generic version of Colcrys, to try to lock up generic sales for Takeda and thereby allow Takeda

to keep the profits that would have been otherwise lost to generic competitors.

       50.     Prasco distributed Takeda’s authorized generic Colcrys pursuant to Takeda’s

 direction at a price just slightly lower than branded Colcrys.

       51.     Prasco collected and remitted back to Takeda virtually all of the revenues from

 sales of authorized generic Colcrys. Authorized generic Colcrys did not reduce Takeda’s

 profits very much at all, therefore. Colcrys prices and Takeda’s profits remained at monopoly

 levels.

       52.     The market entry of additional generic versions of a brand drug results in

increasingly robust price competition and competes down the profits of the branded drug seller,

and of the first generic entrant, as the new entrants offer price concessions as they jockey for

market share, resulting in substantially lower prices.


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       53.     This would have happened with Colcrys unless Takeda, Par, Watson, and Amneal

concertedly took action to prevent it. Takeda was facing the devastation of its Colcrys profits if

Par, and then 180 days later Watson and Amneal, entered the market with generic Colcrys. Par

was facing the unpleasant prospect of entering, with its generic Colcrys, a market where Takeda,

through its distributor Prasco, had already been selling authorized generic Colcrys, which would

have forced Par to offer very low prices to dislodge and gain market share, depriving Par of the

benefits of its 180-day exclusivity as the first ANDA filer. Watson and Amneal were each

facing the unattractive prospect of entering a market where Prasco and Par had already been

fighting over market share for 180 days, and therefore of having to offer rock-bottom prices to

gain sales and share.

       54.     Thus, on the eve of trial in the Par Litigation in November of 2015, Takeda, Par,

Watson and Amneal agreed to a scheme to restrain price competition to Colcrys by concertedly

reducing generic Colcrys output, and agreed to share in the monopoly profits maintained thereby

until January of 2024. This single conspiracy had two basic features.

       55.     First, in addition to entering a settlement agreement resolving the Par Litigation,

Takeda and Par entered into a sham joint venture in the form of a distribution agreement that

concealed the first part of their output restriction conspiracy. Under the agreement, Par would

refrain from launching its generic version of Colcrys, despite having tentative FDA approval.

Instead, 2½ years following entry of the agreement (i.e., in July of 2018), instead of competing

against Takeda, Par would instead replace Prasco as the distributor of Takeda’s authorized

generic Colcrys and would remit back to Takeda virtually all of the revenues from sales of

authorized generic Colcrys, keeping some of those revenues for itself.




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       56.     Second, in addition to entering into settlement agreements resolving the Par

Litigation, Takeda struck agreements with Watson and Amneal, respectively, offering each a

defined time, believed to be between 6 and 18 months in duration, to sell generic Colcrys free

from competition from all other generic Colcrys sellers, if Watson and Amneal would stay off

the market for several years until their defined periods of marketing commenced.

       57.     The output-restriction agreement among Takeda, Par, Watson, and Amneal

contained one escape clause: Par, Watson, and Amneal would refrain from launching their own

generic versions of Colcrys only for so long as non-conspirators did so. That is, the co-

conspirators agreed that if a non-conspiring seller of generic Colcrys entered the market, Par,

Watson, and Amneal could do so, also (the “escape clause”). Par’s selling Takeda’s authorized

generic Colcrys avoided this escape clause. This escape clause, and its necessary implication

that the co-conspirators were willing to restrict their own output only so long as non-conspirators

were doing so, too, illustrates the interdependence of the promises of the co-conspirators, the

existence of the conspiracy, the fact that output restriction was against the unilateral economic

interests of the conspirators and was only in their joint conspiratorial interests, and demonstrates

the singular nature of the conspiracy.

       58.     This arrangement was beneficial to all of the co-conspirators. In January of 2020,

Par asserted that “authorized generic Colcrys is its largest generic product.” Par also wrote that

“[t]he distribution agreement between Takeda and Par . . . provides powerful incentives to ensure

that the parties preserve the two-entrant market.” Par even explained the logic behind the output-

restriction conspiracy:

               [A market with] a single branded drug (Takeda’s Colcrys) and a
               single generic version (Par’s authorized generic) only functions if
               the market for Colcrys-equivalent colchicine is limited to those
               two products. [] Although a drug market can maintain price
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                   stability with a single generic version of a drug on the market,
                   multiple entrants often produce a market-wide price collapse with
                   mass renegotiation and cancellation of supply agreements. [] The
                   distribution agreement between Takeda and Par recognizes this
                   dynamic and provides powerful incentives to ensure that the
                   parties preserve the two-entrant market.

          59.      Par has asserted that even the entry of a single additional competitor would cause

its distribution joint venture with Takeda “to lose approximately $97 million in annual revenue.”

Par has asserted that with “two or three other generic ANDA filers enter[ing] the market,” the

joint venture would lose even more, because “[a]s additional generic versions of Colcrys enter

the market, Par would be forced to swiftly reduce prices to maintain even a portion of its market

share.”

          60.      The conduct among Takeda, Par, Watson, and Amneal only makes economic

sense if there was an agreement among the four of them to restrain their respective generic and

authorized-generic output and prevent the price collapse that Par so vividly described.

Specifically:

          (a) absent concerted assurances that Par, Watson, and Amneal would restrict their output

                of generic Colcrys for several years, it would not be in Takeda’s unilateral economic

                interests to agree to stop distributing authorized generic Colcrys through Prasco;

          (b) absent concerted assurances that Takeda would remove Prasco as a distributor of

                authorized generic Colcrys and that Watson and Amneal would restrict their output

                for several years, it would not be in Par’s unilateral economic interests to agree to

                restrict its output of its generic Colcrys for several years and to agree to defined

                periods of sales free from other generic Colcrys competition for Watson and

                Amneal; and



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        (c) absent concerted assurances that they would receive defined periods of sales free

              from other generic Colcrys competition, it would not be in Watson’s or Amneal’s

              unilateral economic interests to agree to restrict their output of generic Colcrys for

              several years after Par’s 180-day exclusivity elapsed.

        61.      Each of Takeda, Par, Watson, and Amneal was a completely involved co-

conspirator. Each participated in the formation of the conspiracy, actively and even aggressively

supported and furthered it, and was a necessary part and parcel of it.

        62.      Defendants’ conspiracy came to a sudden and unexpected halt in November of

2019, when Mylan launched generic Colcrys.

        63.      Like many other non-conspiring generic drug companies, Mylan had filed an

ANDA with a Paragraph IV certification for generic Colcrys. On or about September 19, 2016

Mylan notified Takeda of its ANDA. Takeda sued Mylan for alleged patent infringement on

October 24, 2016. Takeda and Mylan settled their Colcrys patent litigation on November 7,

2017.

        64.      Takeda’s settlement with Mylan permitted Mylan to launch upon a court decision

invalidating the patents covering Colcrys.

        65.      On December 12, 2018, Judge Richard G. Andrews issued an opinion granting a

motion by Hikma for summary judgment in patent litigation concerning another product subject

to the same patents as Colcrys, which Takeda failed to appeal.

        66.      On October 28, 2019, Mylan informed Takeda that Mylan intended to

immediately launch a generic version of Colcrys, and on November 25, 2019, Mylan launched

its generic version of Colcrys, thereby triggering the “escape clause” in Par, Watson, and

Amneal’s agreements. The output-restriction conspiracy was over.


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VI.    ANTICOMPETITIVE EFFECTS

       67.     Defendants’ conspiracy severely harmed competition in the market for Colcrys

and generic Colcrys, while it lasted and for some time thereafter. It restricted output of generic

Colcrys, kept Colcrys prices at supracompetitive levels, and delayed their fall to competitive

levels. But for the conspiracy, Par would have launched generic Colcrys under its ANDA in July

of 2016 following the expiration of Takeda’s exclusivity, followed 180 days later by Watson,

Amneal, and several other ANDA filers. Takeda would have kept its authorized generic on the

market, distributed by Prasco. The price of Colcrys would have bottomed out to pre-2006 levels

nearly instantaneously.

       68.     Although Watson and Amneal did not get to enjoy the fruits of the conspiracy —

because Mylan ended the conspiracy before they could enjoy the periods of reduced competition

they were promised in exchange for restricting their output for several years — Defendants’

conspiracy was very profitable to both Takeda and Par.

       69.     By replacing Prasco as Takeda’s authorized generic distributor and keeping a

share of authorized generic revenues until January of 2024, Par expected to earn approximately

$50-80 million more than it would absent the conspiracy (i.e., had it launched its ANDA product

on July 29, 2016 alongside Takeda’s authorized generic distributed by Prasco and faced

additional generic competition after 180 days).

       70.     From the absence of AB-rated generic competition for as long as the conspiracy

lasted, Takeda earned approximately $1 billion more than it would have had it faced generic

competition, even if it had kept Prasco on the market as its authorized generic distributor.

      71.      For their part, Watson and Amneal each could have expected to earn

approximately $12-36 million more during their respective periods as the only generic seller on


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the market than they would have earned absent the conspiracy and facing multiple generic

competitors.

VII.   ANTITRUST IMPACT

       72.     During the class period, Plaintiff and members of the Class purchased substantial

amounts of Colcrys and authorized generic Colcrys from Takeda, Prasco, and Par at

supracompetitive prices. As a result of Defendants’ conspiracy, and as intended by Defendants,

Plaintiff and members of the Class were compelled to pay and did pay artificially inflated prices

for their requirements for Colcrys tablets. Those prices were substantially greater than the prices

that Plaintiff and members of the Class would have paid absent the conspiracy alleged herein,

because, but for the conspiracy, Plaintiff and members of the Class would have paid lower prices

for their branded and generic Colcrys requirements.

       73.     As a consequence, Plaintiff and members of the Class have sustained substantial

losses and damage to their business and property in the form of overcharges. The full amount of

such damages will be calculated after discovery and upon proof at trial.

VIII. EFFECT ON INTERSTATE COMMERCE

       74.     At all material times, Defendants, manufactured, promoted, and sold substantial

amounts of brand and generic Colcrys in a continuous and uninterrupted flow of commerce

across state and national lines and throughout the United States, including its territories,

possessions and the Commonwealth of Puerto Rico. During the relevant time period, in

connection with the purchase and sale of brand and generic Colcrys, monies as well as contracts,

bills and other forms of business communication and transactions were transmitted in a

continuous and uninterrupted flow across state lines.




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       75.     During the relevant time period, various devices were used to effectuate the

illegal acts alleged herein, including the United States mail, interstate and foreign travel, and

interstate and foreign telephone commerce. The activities of Defendants as charged in this

Complaint were within the flow of, and have substantially affected, interstate commerce.

IX.    MONOPOLY POWER AND RELEVANT MARKET

       76.     At all relevant times Takeda had monopoly power in a market limited to Colcrys

and generic Colcrys, because it had and exercised the power to raise and maintain the price of

Colcrys and authorized generic Colcrys tablets at supracompetitive levels without losing

substantial sales to other products prescribed and/or used for the same purposes, other than

generic Colcrys.

       77.     A small but significant, non-transitory increase in the price of Colcrys or

authorized generic Colcrys would not have caused, and never did cause, a significant loss of

sales to products used for the same purposes as Colcrys, other than generic Colcrys.

       78.     Colcrys and authorized generic Colcrys tablets do not exhibit significant, positive

cross-elasticity of demand with respect to price with any product other than generic Colcrys.

Indeed, Takeda has repeatedly increased the price of brand Colcrys without losing sales to any

other non-Colcrys product.

       79.     Other drugs that are not AB-rated to Colcrys do not exhibit substantial cross-price

elasticity of demand with Colcrys, and thus are not economic substitutes for, nor reasonably

interchangeable with, Colcrys.

       80.     Products other than generic Colcrys are not economic substitutes for Colcrys or

authorized generic Colcrys, and the existence of other products used to treat and/or prevent the

same conditions as Colcrys did not significantly constrain Takeda’s Colcrys or authorized


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generic Colcrys pricing. On information and belief, Takeda has never lowered the price of

Colcrys or lowered the price of authorized generic Colcrys in response to the pricing of other

branded or generic drugs used to treat the same conditions as Colcrys.

       81.     To the extent Plaintiff is legally required to prove monopoly power

circumstantially or indirectly by first defining a relevant product market, the relevant product

market is limited to Colcrys and generic Colcrys.

       82.     The relevant geographic market is the United States and its territories.

       83.     At all relevant times, Takeda’s market share in the relevant market was 100%,

implying a substantial amount of monopoly power.

       84.     Takeda needed to control only Colcrys and generic Colcrys, and no other

products, in order to profitably maintain prices at a supracompetitive level. No product other

than generic Colcrys ever rendered Takeda unable to profitably raise or maintain the price of

Colcrys without losing substantial sales. Only the market entry of an AB-rated generic version

of Colcrys would render Takeda unable to profitably maintain its prices of Colcrys and/or

authorized generic Colcrys without losing substantial sales.

       85.     At all relevant times, Takeda enjoyed high barriers to entry with respect to

competition to the relevant product market due to patent and other regulatory protections and

high costs of entry and expansion.

X.     CLAIM ACCRUAL AND/OR TOLLING

       86.     Plaintiff’s Complaint is timely as to all claims accruing within four years of the

date of the filing of this Complaint.

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        87.     Plaintiff’s damages claims predating four years before the filing of this Complaint

are also timely under the doctrines of equitable tolling, the discovery rule, and fraudulent

concealment.

        88.     These doctrines apply because (1) Defendants concealed from Plaintiff the

existence of this cause of action, (2) Plaintiff could not have known about this cause of action

until on or after December 2, 2019 when details about the sham joint venture between Takeda

and Par began to be made public, and (3) Plaintiff’s continuing ignorance was not attributable to

lack of diligence on its part.

        89.     Until December 2, 2019, Defendants concealed from Plaintiff the existence of its

cause of action. Specifically, Defendants concealed from Plaintiff the terms of the joint venture,

in particular that it involved a sham joint venture to preserve Takeda’s monopoly and reduce

output and maintain monopoly pricing for Colcrys.

        90.     Moreover, the joint venture was inherently self-concealing. It required the

Defendants to maintain confidentiality.

        91.     Plaintiff remained in ignorance of this cause of action until some point within four

years of commencement of this action, and Plaintiff’s continuing ignorance was not attributable

to a lack of diligence on its part.

        92.     As a result of Defendants’ fraudulent concealment, all applicable statutes of

limitations for the Plaintiff’s and the Class’s claims have been tolled. Even absent fraudulent

concealment, all applicable statutes of limitations are tolled by the doctrine of equitable estoppel.

        93.     Alternatively, if the statute of limitations is not tolled, this Complaint alleges a

continuing course of conduct (including conduct within the limitations period), and Plaintiff and




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members of the Class can recover for damages that they suffered during the limitations period,

i.e., within the last four years.

XI.     CLAIMS FOR RELIEF

                                              COUNT I
                                             15 U.S.C. § 1
                                    Conspiracy in Restraint of Trade
                                       (Against All Defendants)

        94.     Plaintiff hereby repeats and incorporates by reference each preceding and

succeeding paragraph as though fully set forth herein.

        95.     Defendants entered into a single output-restriction conspiracy as detailed above.

        96.     The conspiracy substantially, unreasonably, and unduly restrained trade in the

relevant market, and harmed Plaintiff thereby.

        97.     Defendants are per se liable for the output-restriction conspiracy.

        98.     Alternatively, Defendants are liable for the conspiracy under a “quick look”

and/or rule of reason standard.

        99.     There is no legitimate, nonpretextual procompetitive justification for the

conspiracy that outweighs its harmful effect. Even if there were some conceivable such

justification, the conspiracy was broader than necessary to achieve such a purpose.

        100.    Takeda and Par’s agreement to replace Prasco with Par as Takeda’s distributor of

“authorized generic” Colcrys was a pretextual, sham joint venture that sought to conceal the

output-restriction conspiracy and did nothing to contribute to competition, as it merely

substituted one distributor with another.

        101.    As a direct and proximate result of Defendants’ conspiracy, as alleged herein,

Plaintiff and the Class were harmed as aforesaid.



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                                          COUNT II
                                         15 U.S.C. § 2
                                        Monopolization
                                     (Against Takeda Only)

        102.    Plaintiff hereby repeats and incorporates by reference each preceding and

succeeding paragraph as though fully set forth herein.

        103.    At all relevant times, Takeda possessed monopoly power in the relevant market.

        104.    By its conduct as set forth above, Takeda willfully maintained its monopoly

power in the relevant market using restrictive or exclusionary conduct, rather than by means of

greater business acumen, and injured Plaintiff thereby.

        105.    It was Takeda’s conscious object to further its dominance in the relevant market

by and through its conduct set forth above.

        106.    Takeda’s conduct as set forth above constitutes an anticompetitive scheme to

maintain monopoly power in the relevant market.

        107.    The goal, purpose, and/or effect of Takeda’s conduct was to maintain and extend

Takeda’s monopoly power with respect to Colcrys, and share in the unlawful profits derived

therefrom. Takeda’s conduct to impair generic competition allowed Takeda to continue charging

supra-competitive prices for Colcrys and “authorized generic” Colcrys without a substantial loss

of sales.

        108.    As a direct and proximate result of Takeda’s monopolistic conduct, as alleged

herein, Plaintiff and the Class were harmed as aforesaid.

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                                          COUNT III
                                         15 U.S.C. § 2
                                    Conspiracy to Monopolize
                                    (Against All Defendants)

       109.     Plaintiff hereby incorporates by reference each preceding and succeeding

paragraph as though fully set forth herein.

       110.     Defendants conspired to unlawfully maintain Takeda’s monopoly power in the

relevant market by agreeing and adhering to the promises comprising the output-restriction

conspiracy.

       111.     Defendants knowingly and intentionally entered into the output-restriction

conspiracy.

       112.     Defendants specifically intended that the conspiracy would maintain Takeda’s

monopoly power in the relevant market, and injured Plaintiff and the Class thereby.

       113.     Defendants each committed at least one overt act in furtherance of the conspiracy.

       114.     As a direct and proximate result of Defendants’ concerted monopolistic conduct,

as alleged herein, Plaintiff and the Class were harmed as aforesaid.

XII.   DEMAND FOR JUDGMENT

       Plaintiff, on behalf of itself and the proposed Class, respectfully demand that this Court:

       a.       Determine that this action may be maintained as a class action pursuant to Federal
                Rules of Civil Procedure 23(a) and (b)(3), and direct that reasonable notice of this
                action, as provided by Federal Rule of Civil Procedure 23(c)(2), be given to the
                Class, and declare the Plaintiff as the representative of the Class;

       b.       Enter joint and several judgments against the Defendants and in favor of the
                Plaintiff and the Class;

       c.       Award the Class damages (i.e., three times overcharges) in an amount to be
                determined at trial;

       d.       Award the Plaintiff and the Class their costs of suit, including reasonable
                attorneys’ fees as provided by law; and

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       e.       Award such further and additional relief as the case may require and the Court
                may deem just and proper under the circumstances.

XIII. JURY DEMAND

       Pursuant to Fed. R. Civ. P. 38, Plaintiff demands a trial by jury on all issues so triable.

Dated: August 5, 2021                                 Respectfully submitted,

                                                      VALUE DRUG COMPANY


                                                      By:______________________________
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